 Case 2:06-cr-20304-JPM          Document 8        Filed 04/19/06      Page 1 of 1      PageID 8




                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TENNESSEE
                                   Western Division

UNITED STATES OF AMERICA

-vs-                                                                       Case No. 06-mj-235-01

LATERRICA "NOOKIE" WOODS
________________________________________


                            FINDING OF PROBABLE CAUSE

        On the evidence presented at the preliminary examination, I find that there is probable cause

to believe that the offenses charged in Title 21 U.S.C. § 846 have been committed and that the

defendant committed them. It is therefore,

        ORDERED that LATERRICA "NOOKIE" WOODS is held to answer in the Western

District of Tennessee where the prosecution is pending.

        DONE and ORDERED in 167 North Main, Memphis, Tennessee on 19th day of April,

2006.



                                                      ___________s/ James H. Allen___________
                                                                 JAMES H. ALLEN
                                                       UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attorney
United States Marshal
Pretrial Services Office
Counsel for Defendant
Laterrica "Nookie" Woods
